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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            Chapter 11
    In re:
                                                            Case No. 23-11240 (TMH)
    AMERIFIRST FINANCIAL, INC., et al.,1
                                                            (Jointly Administered)
                                      Debtors.



                   NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

             PLEASE TAKE NOTICE, that the undersigned counsel hereby enter their appearance for

Cousins Fund II Phoenix III, LLC (the “Landlord”) pursuant to section 1109(b) of title 11 of the

United States Code, 11 U.S.C. §§ 101 et seq., Rules 2002, 3017, 9007 and 9010(b) of the Federal

Rules of Bankruptcy Procedure and Rule 2002-1(d) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware, and request that

copies of all pleadings, motions, notices and other papers filed or served in this bankruptcy case,

be served upon the Landlord through its undersigned counsel, as follows:

    Leslie C. Heilman, Esquire                             Brian D. Huben, Esquire
    Laurel D. Roglen, Esquire                              Jessica M. Simon, Esquire
    Nicholas J. Brannick, Esquire                          BALLARD SPAHR LLP
    Margaret A. Vesper, Esquire                            2029 Century Park East, Suite 1400
    BALLARD SPAHR LLP                                      Los Angeles, CA 90067-2915
    919 N. Market Street, 11th Floor                       Telephone: (424) 204-4400
    Wilmington, Delaware 19801-3034                        Facsimile: (424) 204-4350
    Telephone: (302) 252-4465                              E-mail: hubenb@ballardspahr.com
    Facsimile: (302) 252-4466                                      simonjm@ballardspahr.com
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1
 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix 1040
LLC (2550); and AmeriFirst Financial, Inc. (4557). The Debtors’ service address in these chapter 11 cases is 1550
McKelleps Road, Suite 117, Mesa, Arizona 85203.
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       PLEASE TAKE FURTHER NOTICE, that the foregoing request includes, without

limitation, all orders, notices, applications, motions, petitions, pleadings, requests, complaints,

demands, replies, answers, schedules of assets and liabilities, statements of financial affairs,

operating reports, plans of reorganization, and disclosure statements, whether formal or informal,

and whether transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex, facsimile,

or otherwise.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and Request

for Notices nor any subsequent appearance, pleading, claim, or suit is intended or shall be deemed

or construed to constitute a waiver of any substantive or procedural right of the Landlord including,

without limitation, (i) the right to have final orders in non-core matters entered only after de novo

review by the United States District Court for the District of Delaware (the “District Court”), (ii)

the right to trial by jury in any proceeding related to these cases or any case, controversy, or

proceeding related to these cases, (iii) the right to have the District Court withdraw the reference

in any matter subject to mandatory or discretionary withdrawal, (iv) the right to have any matter

in which this Court, absent consent of the parties, cannot enter final orders or judgments consistent

with Article III of the United States Constitution heard by the District Court, or (v) any other rights,

claims, actions, defenses, setoffs, or recoupments to which the Landlord is or may be entitled, in

law or in equity, all of which rights, claims, actions, defenses, setoffs and recoupments are

expressly reserved. Unless and until the Landlord expressly states otherwise, Landlord does not

consent to the entry of final orders or judgments by this Court if it is determined that this Court,




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absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

the United States Constitution.

Dated: September 21, 2023
Wilmington, Delaware                          Respectfully submitted,

                                              /s/Leslie C. Heilman
                                              Leslie C. Heilman (DE 4716)
                                              Laurel D. Roglen (DE 5759)
                                              Nicholas J. Brannick (DE 5721)
                                              Margaret Vesper (DE 6995)
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                                                  and

                                              Brian D. Huben (CA Bar No. 134354)
                                              Jessica M. Simon (CA Bar No. 277581)
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                                              Attorneys for Cousins Fund II Phoenix III, LLC




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                                CERTIFICATE OF SERVICE

       I, Leslie C. Heilman, hereby certify that, on this 21st day of September 2023, I caused a

true and correct copy of the foregoing Notice of Appearance and Request for Notices to be served

via CM/ECF on all parties who have registered for electronic service in these cases.


Dated: September 21, 2023
Wilmington, Delaware
                                             /s/ Leslie C. Geilman
                                             Leslie C. Heilman (DE No. 4716)
                                             BALLARD SPAHR LLP
